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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
FRANKIE MONEGRO, on behalf of himself and DOC #: —___
all others similarly situated, DATE FILED: _10/20/2020
Plaintiff,
-against- 20 Civ. 6410 (AT)
L.C. INDUSTRIES, INC.. ORDER
Defendant.

 

 

ANALISA TORRES, District Judge:

The Court has been advised that all claims asserted herein have been settled in principle. ECF
No. 9. The above-entitled action is hereby dismissed and discontinued without costs, and without
prejudice to the right to reopen the action within sixty days of the date of this Order if the settlement
is not consummated.

Any application to reopen must be filed within sixty days of this Order; any application to
reopen filed thereafter may be denied solely on that basis. Further, if the parties wish for the Court to
retain jurisdiction for the purposes of enforcing any settlement agreement, they must submit the
settlement agreement to the Court within the same sixty-day period to be so-ordered by the Court.
Per Rule IV(C) of the Court’s Individual Practices in Civil Cases, the Court will not retain
jurisdiction to enforce a settlement agreement unless it is made part of the public record.

Any pending motions are moot. All conferences are vacated. The Clerk of Court is directed
to close the case.

SO ORDERED.

Dated: October 20, 2020
New York, New York

On-

ANALISA TORRES
United States District Judge

 
